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                   COMPOSITE
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             IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                     IN AND FOR PALM BEACH COUNTY, FLORIDA
                                  CIVIL DIVISION

        PRESIDENT DONALD J. TRUMP,

              Plaintiff,

        v.                                                          Case No.: __________

        LETITIA JAMES, individually and in
        her official capacity as Attorney
        General of The State of New York,

              Defendant.
                                                /

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

              Plaintiff, PRESIDENT DONALD J. TRUMP (“President Trump”), by and

        through his undersigned counsel, sues Defendant, LETITIA JAMES (“James” or

        “Defendant”), individually and in her official capacity as Attorney General of the

        State of New York, and alleges:

                                 PRELIMINARY STATEMENT

              1.     Extraordinary wrongdoing requires extraordinary relief. As set forth

        below, James has repeatedly abused her position as Attorney General for the State

        of New York to pursue a relentless, pernicious, public, and unapologetic crusade

        against President Trump, a resident of Palm Beach County, Florida, with the stated

        goal of destroying him personally, financially, and politically. Suffice it to say that

        these actions are contrary to both the laws of New York and Florida.
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          2.     James’ war of intimidation and harassment on President Trump, his

    family, his business interests, and his associates is longstanding and continuing.

    James campaigned for Attorney General on the promise of launching investigations

    of President Trump before even the pretext of a predicate existed. Since her election,

    she made good on those campaign promises and established within her office a

    policy of intimidating and harassing President Trump whenever possible. These

    crusades began shortly after President Trump became President of the United States

    and have continued since he returned to his residence in Palm Beach County, Florida.

          3.     In September 2022, as the midterm elections approached and James

    herself faced reelection against a Republican challenger, James began amping up her

    attacks on President Trump to rev up her political base. James initiated an abusive

    civil enforcement action in the state court in New York (the “Civil Action”) claiming

    that President Trump and others committed fraud on sophisticated commercial lenders

    and insurance companies (represented by some of the largest, finest, and toughest law

    firms in the world) by submitting statements of President Trump’s net worth which,

    on their face, contained numerous disclaimers regarding the manner in which the

    estimates were prepared. To place this abusive claim in context, the many assets

    owned by President Trump carry very little debt and most are free and clear.

          4.     Though James’ vehicle is unimpressive her ultimate destination is

    staggering. Using the Civil Action, James seeks unprecedented oversight of President



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    Trump’s business and financial affairs — including control over President Trump’s

    Florida revocable trust1 — as she grandstands in demanding $250 million in

    “restitution” for the people of New York.

          5.     In truth, James knows that no restitution is owed but seeks only attention

    for herself and retribution against President Trump.

          6.     As outlined below, James’s longstanding and continued bias against

    President Trump and the Trump Organization is immediately and objectively apparent,

    demonstrated by her own oft-repeated statements.

          7.     James began making threats against President Trump before she was

    even elected, at a time when she possessed no actual information or insight into

    President Trump’s business. She campaigned for her position on the promise to

    weaponize her resources against President Trump and “anyone in [his] orbit.”

    During her unsuccessful bid for governor of New York, she boasted about suing him

    “76 times.” Now up for reelection as Attorney General, she is campaigning once

    again on the promise that if reelected she will continue her vitriolic and obsessive

    pursuit of President Trump. None of these actions are proper actions for a state

    Attorney General.



    1
      The Trust itself was incorrectly named as a defendant in the Civil Action and has
    not been properly served with process in New York. James failed to sue the trustee
    in his capacity as such and merely named the trust itself as a defendant. A Florida
    revocable trust is not a separate legal entity with capacity to sue or be sued.

                                                3
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          8.     But what began as a cartoonish, thinly-veiled effort to publicly malign

    President Trump for personal political gain has morphed into a plot to obtain control

    of a global private enterprise ultimately owned by a Florida revocable trust in which

    President Trump is the settlor.

          9.     Defendant, an individual guided solely by political animus and a desire

    to harass, intimidate, and retaliate against President Trump has been permitted to

    hand-pick the New York state court judge to rule on her request to seize control of

    the Trump business empire, comprised of highly valued real estate and other assets,

    minimal debt, and brand value which, if properly managed and run, is virtually

    incalculable. This is supposedly because, as the Attorney General claims, that

    sophisticated lenders and insurance companies received inflated estimates of

    President Trump’s net worth, despite that over the last ten years in question not one

    bank missed an interest payment, cash payment, redemption, or principal payment

    of any kind and, during the same period, not one notice of default was ever sent for

    payments due. Likewise, insurance companies were paid in full, on time, and on

    schedule and made no complaints to the Attorney General about President Trump or

    any of his companies before James ginned up this investigation.

          10.    James purportedly brought the suit to protect these sophisticated banks

    and insurance companies (again represented by the largest, toughest, and finest law

    firms in the United States and beyond) only to find, late in the process, however,



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    after reviewing more than 10 million pages of documents, that the Trump

    Organization was highly underleveraged with very low debt, owned some of the

    finest assets in the world, and that all loans were current without defaults or

    delinquencies of any kind. This was a disaster for the out-of-control James but she

    decided out of hatred and scorn of President Trump, and for the simple reason of

    using the publicity, to proceed anyway.

          11.    As a private company, nobody knew very much about the great

    business that then–businessman Donald Trump had built but now it is being revealed

    by James and much to her chagrin. The continuing witch hunt that has haunted and

    targeted Donald Trump since he came down the “golden escalator” at Trump Tower

    in June of 2015 continues. President Trump built a great and prosperous company

    but a company nevertheless that must be carefully, delicately, yet powerfully

    managed, and the appointment of a political monitor or the interference by a political

    hack like James who is using this lawsuit for political gain, would bring great harm

    to the company, the brand, the employees and its overall reputation. Likewise, it

    could virtually destroy the highly profitable Florida properties, which include the

    legendary Trump National Doral Golf Club and Resort (one of the most successful

    in the world), Trump International Golf Club in Palm Beach, Florida, Trump Jupiter

    Country Club in Jupiter, FL, and, of course, one of the greatest and most successful

    clubs in the world, The Mar-a-Lago Club. In addition to greatly affecting the real



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    estate values of these properties, a monitor or supervisor representing a failed and

    poorly rated Attorney General’s office from distant New York, would jeopardize the

    more than 1,000 employees that operate these properties and would totally destroy

    the “pipeline” of future projects not only in the great State of Florida, but throughout

    the United States, and indeed the world.

          12.    In furtherance of her attempts to steal, destroy or control all things

    Trump, James has become preoccupied with obtaining a copy of President Trump’s

    revocable trust, the Donald J. Trump Revocable Trust (the “Trust”), a revocable trust

    governed by Florida law and sited in Florida. The Trust contains his private estate

    plan and present decisions regarding the disposition of his assets upon death. These

    are private matters to President Trump, and under Florida law, revelation of a

    settlor’s revocable trust while the settlor is still alive threatens the settlor’s right to

    privacy guaranteed by Article I, Section 23 of the Florida Constitution and the

    common law.

          13.    In addition, James seeks to interfere with President Trump’s unfettered

    right to own, acquire, transfer, or dispose of property, personally or in the Trust,

    contrary to Article I, Section 2 of the Florida Constitution.

          14.    Additionally, Defendant’s actions seek to infringe on his trustee’s

    powers over the Trust and impose substantial interference with the ability of the




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    trustee to discharge the trustee’s duties in accordance with § 736.0815, Fla. Stat., §

    736.0816 Fla. Stat., and the Trust.

           15.    President Trump’s request is not light: he seeks declaratory and

    injunctive relief against an out-of-state Attorney General who has malevolently

    targeted him because he ran for and was elected the 45th President of the United

    States and, perhaps more importantly, is leading in all polls by substantial margins

    both in the Republican Party for the nomination and against any and all Democrats

    for the presidency itself.

           16.    President Trump comes before this Court for protection from James’

    ongoing abuse and efforts to interfere with, control, gain access to, and publicly expose

    the terms of his Florida revocable trust.

                        JURISDICTION, PARTIES AND VENUE

           17.    This is an action for declaratory and injunctive relief.

           18.    The Donald J. Trump Revocable Trust (the “Trust”) is a Florida

    revocable trust established and governed by the laws of the State of Florida. Its

    principal place of administration is in Florida.

           19.    Pursuant to Florida Statutes, this Court may act to protect and carry out

    the administration of a trust to the extent the Court’s jurisdiction is invoked by an

    interested person or as provided by law. See § 736.0201(2), Fla. Stat.




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          20.    Moreover, circuit courts have original jurisdiction over all equitable

    claims pursuant to § 26.012(2)(c), Fla. Stat.

          21.    President Donald J. Trump is the settlor and a beneficiary of the Trust

    and resides in Palm Beach County, Florida.

          22.    Venue for actions and proceedings concerning trusts, including those

    seeking a declaration of rights or other matters concerning trustees and beneficiaries

    under § 736.0201, may be laid in any county where the beneficiary suing or being

    sued resides. See § 736.0204, Fla. Stat.

          23.    This Court has personal jurisdiction over Defendant James based on her

    unlawful attempts to reach into Florida and exercise powers delegated to the Trustee,

    as § 736.0202, Fla. Stat. provides, in relevant part:

                        (a) Any trustee, trust beneficiary, or other person, whether or
                            not a citizen or resident of this state, who personally or
                            through an agent does any of the following acts related to a
                            trust, submits to the jurisdiction of the courts of this state
                            involving that trust:
                            …
                            (4) Accepts or exercises a delegation of powers or duties
                            from the trustee of a trust having its principal place of
                            administration in this state.

    (emphasis supplied). See Electro Eng'g Prods. Co. v. Lewis, 352 So.2d 862, 864

    (Fla.1977) (a plaintiff seeking to obtain jurisdiction over a nonresident defendant

    initially needs only to allege sufficient facts to make out a prima facie case of

    jurisdiction).



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          24.    Alternatively, this Court has personal jurisdiction over James based on

    the tortious acts she committed within this state and the scope of authority she seeks

    to exert over real property and other Trust assets satisfy the minimum contacts

    requirements of due process. See § 48.193(1)(a)(2), Fla. Stat.; Venetian Salami Co.

    v. Parthenais, 554 So.2d 499 (Fla. 1989) (establishing a two-step inquiry for

    determining whether long-arm jurisdiction over a non-resident in a given case is

    proper).

          25.    Unless judicial relief is provided as described herein, President Trump

    will be irreparably deprived of privacy and property rights by James.

          26.    All conditions precedent to the maintenance of the causes of action

    alleged herein, if any, have occurred or been performed, excused, or waived.

                                     BACKGROUND

    I.    Defendant’s Longstanding Animosity Toward President Trump

          27.    Defendant is an outspoken political activist and member of the

    Democratic Party.

          28.    Prior to serving as Attorney General of the State of New York,

    Defendant served as a Democratic member of the New York City Council and New

    York City Public Advocate for over a decade.

          29.    After President Trump’s victory in the 2016 Presidential Election,

    Defendant began displaying severe animosity towards the president-elect.



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           30.     Prior to President Trump’s inauguration, Defendant retweeted calls for

    sit-ins to protest President Trump’s nomination of Jeff Sessions to be United States

    Attorney General.

           31.     Five days after President Trump’s inauguration, Defendant joined

    public protests and declared that his “administration ha[d] shown its true and ugly

    colors, but we will not be silent.”

           32.     Over the next several months, Defendant continued to publicly voice

    her disdain for President Trump and his administration.2

           33.     Six and a half months into President Trump’s term, Defendant was

    already leading “die-in” protests against President Trump because, according to her,

    “we are all being killed by this administration.” 3 Defendant punctuated her tweet with

    the hashtag, “Resist.”

           34.     The hashtag “#Resist” is recognized as shorthand for fighting President

    Trump at every level in an effort to make President Trump and his supporters




    2
      See, e.g., id., (Feb. 11, 2017, 12:01 PM ET) https://bit.ly/3liyZpK (“@villagedemocrat out in full
    force today calling on our elected officials to fight for us against this administration.”); id., (Mar.
    5, 2017, 5:01 PM ET) https://bit.ly/2Gl6c56 (“Hey @realDonaldTrump, we’re in Queens, your
    hometown, rising up against your xenophobic policies, & we’re ready to act.”); id., (June 3, 2017,
    10:18 AM ET) https://bit.ly/33z0XYj (“Always proud to be with strong New York women
    standing up & speaking out against an administration that doesn’t represent out values.”).
    3
      id. (Aug. 14, 2017, 5:55 PM ET) https://bit.ly/3lu9fqz .


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    “uncomfortable and not able to rest well” and thus unable to effectively implement

    his policies. 4

           35.        Defendant’s embrace of the “resistance” mentality from the earliest

    days of the Trump presidency foreshadowed her relentless abuse of power as

    Attorney General.

           36.        Roughly ten months into President Trump’s term, Defendant

    announced: “I’ve been leading the resistance against Donald Trump in NYC and will

    only continue to do so in every way possible.”5

           37.        In her capacity as New York City Public Advocate, Defendant

    demonstrated a willingness to wield the government’s power against those whose

    political beliefs differed from her own. 6 That willingness took center stage in

    Defendant’s political campaign for attorney general and her subsequent actions as

    New York’s chief law enforcement officer.

    II.    Defendant Campaigned for Attorney General on a Promise to Target
           President Trump and the Trump Organization

           38.        In May of 2018, Defendant declared her candidacy for Attorney

    General of the State of New York.



    4
       ‘Resist’ is a Battlecry, But What Does It Mean? The New York Times, Feb. 14, 2017,
    https://nyti.ms/2GLln77 .
    5
      Id., (Oct. 16, 2017, 7:57 PM ET) https://bit.ly/3d4wBQr emphasis added).do so in every way
    possible.” Id., (Oct. 16, 2017, 7:57 PM ET) https://bit.ly/3d4wBQr (emphasis added).
    6
      See id., (July 19, 2017, 10:32 AM ET) https://bit.ly/2F3wHLt (“We will not allow companies that
    build Trump’s wall, a monument to racism and bigotry, to also do business with NYC.”)


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          39.    As a candidate for Attorney General, Defendant made “taking on

    Donald Trump”7 the focal point of her campaign, often comparing herself to Special

    Prosecutor Robert Mueller, who, at the time, was leading the investigation into the

    now-debunked allegations that the Trump campaign colluded with Russians to

    interfere in the 2016 presidential election.

          40.    Defendant’s campaign website not only repeated derogatory and

    inaccurate statements concerning President Trump’s policies but also stated—with

    no evidentiary basis whatsoever— that President Trump had engaged in “public

    corruption.”8

          41.    Though it appears to have since been removed, the website at one time

    provided a link to a detailed outline of Defendant’s strategy for rooting out

    corruption, with a section specifically devoted to President Trump, his family,

    and the Trump Organization entitled “Investigate Trump’s New York Business.”

          42.    As stated in the outline, the investigation would include:

                 “a review of Trump-related real estate transactions,
                 especially those in which the Trump family suddenly
                 started paying cash for properties after years of operating
                 their businesses exclusively by borrowing money.”




    7
       See, e.g., Letitia James (@TishJames), Twitter (June 27, 2018, 10:48 AM ET)
    https://bit.ly/2GG4uuy (“Congrats [now-Congresswoman Alexandria Ocasio Cortez] on your
    victory. Looking forward to working with you to help Democrats take on Donald Trump.”)
    8
      http://www.tishjames2018.com/corruption/



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           43.    Of course, Defendant had no personal knowledge about any “Trump-

    related real estate transactions” at the time that she made these statements, as she

    had not yet been elected Attorney General and possessed no information or insight

    into President Trump’s business other than what she had presumably seen in the

    media.

           44.    Nonetheless, Defendant continued to shamelessly campaign on her

    unfounded allegations against President Trump and his family in a misguided effort

    to garner media attention and promote her fundraising efforts

           45.    On June 26, 2018, Defendant spoke at a protest opposing the Supreme

    Court’s decision in Trump v. Hawaii, 138 S. Ct. 2392 (2018), telling the crowd that

    “it’s critically important that we all understand that this was a result of the fact that

    [Republicans] stole the Supreme Court seat. An illegitimate president and an

    illegitimate member of the Supreme Court.” 9

           46.    On July 1, 2018, Defendant tweeted “New Yorkers need a fighter who

    will take on Donald Trump … I’ll be that fighter. Join my campaign.”10

           47.    On July 19, 2018, in the midst of a politically-charged speech before

    The Bronx Democratic Party, Defendant promised to use the law as a “sword” to

    relentlessly bombard President Trump, proclaiming that “no one is above the law,


    9
      Letitia James Foley Sq Opposing Travel Ban Supreme Court Decision, YouTube, 0:55 (June 26,
    2018) https://bit.ly/3d58PDS.
    10
       Letitia James (@TishJames), Twitter (July 1, 2018, 2:56 PM ET) https://bit.ly/3nh8rH4


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    including this illegitimate president…and so I look forward to going into the office

    of Attorney General every day, suing him, defending your rights, and then going

    home!” 11

            48.    In what can only be construed as an attempt to threaten and intimidate

    President Trump, Defendant then tweeted that President Trump is “running out of

    time” and warned him that she would immediately investigate him and his “cronies”

    when she took office.

            49.    Defendant issued a similar threat on August 22, 2018, when she said,

    among other things, that President Trump “should be scared” about her upcoming

    term.

            50.    On September 10, 2018, Defendant vowed to “stand up” to Trump, and

    later that evening, Defendant declared once more that she was “just getting started” in

    “tak[ing] on” President Trump.

            51.    Of course, even when addressing Trump’s role as the sitting President

    of the United States, James was driven by deep animosity for him personally and an

    obsessive denial that he had the right to hold public office. In a troubling September

    12, 2018 video, released during the Democratic primary, Defendant pledged that she

    would “never be afraid to challenge this illegitimate president.”


    11
          Letitia   James,   Facebook,     1:18    (July   19,   2018)   (emphasis   added),
    https://m.facebook.com/LetitiaJamesforNY/videos/
    203059860348974.



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           52.   In the very same video, Defendant baselessly accused Trump of a slew

    of crimes, including obstruction of justice and laundering money from foreign

    governments, and demanded that he be indicted. Defendant promised to “join with

    law enforcement and other attorney generals across this nation in removing this

    President from office.” Mirroring her previous allegations, Defendant’s call for

    Trump to be investigated was devoid of both fact and merit.          Nevertheless,

    Defendant concluded the video by promising that “the days of Donald Trump are

    coming to an end.”

           53.   On the same day, Defendant took to Twitter to double down, reiterating

    her warrantless claim that Trump is an “illegitimate president” and promising once

    more to “fight back” against Trump if New Yorkers voted for her.

    III.   As Attorney General, Defendant Immediately Implemented her
           Premeditated, Ongoing Plan of Intimidation and Harassment of
           President Trump

           54.   On November 6, 2018, Defendant was elected, as a Democrat, the

    Attorney General of the State of New York and immediately began implementing her

    plan to weaponize her office to attack President Trump in a manner exceeding

    conventional political opposition. During her victory speech, she made a solemn

    promise to “shin[e] a bright light into every dark corner of [Trump’s] real estate

    holdings,” making no distinction between holdings located in New York and those

    located elsewhere, including Florida.



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          55.    Emboldened by her election, Defendant began to shamelessly display

    the bias against President Trump that she demonstrated before gaining office,

    publicly guaranteeing the outcome of any future investigation or claim against President

    Trump. These guarantees were made before she had ever established even a pretext of

    legal predicate for an investigation, claim, or action, and before gathering any facts

    or requesting documents from President Trump in connection with an investigation,

    claim, or action.

          56.    For starters, in an interview with political activist and former

    Democratic candidate for New York City Council Adina Sash, Defendant was asked

    if she planned to “sue [President Trump and the Trump Organization].” Defendant

    laughingly responded “[o]h, we’re definitely going to sue him. We’re going to be a

    real pain in the ass. He’s going to know my name personally.”

          57.    Then, on December 12, 2018, during an NBC News interview given

    eighteen days before assuming office, Defendant vowed to “use every area of the

    law to investigate President Trump and his businesses transactions and that of his

    family as well.” Notably, Defendant did not curtail her persecution of Trump and his

    family, instead promising to also investigate “anyone in [President Trump’s] orbit.”

          58.    Defendant repeatedly, publicly, and proudly stated during her campaign

    and transition period that she intended to weaponize her office to target and




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    intimidate President Trump upon taking office. This ensured her policy of

    intimidation would be in place on day one.

          59.      In fact, Defendant’s open threats and promises to investigate and sue

    President Trump were so appalling that even members of her party condemned them

    as unlawful.

          60.      For example, Daniel Goldman, the Democratic Party’s counsel for the

    impeachment process against President Trump and a former Assistant United States

    Attorney in Manhattan, warned that Defendant’s statements “give the appearance of

    an individualized political vendetta . . . It’s essential that prosecutors maintain their

    neutrality and an objective view of the fact evidence, no matter the politics

    involved.” By abandoning even the pretext of such neutrality, Goldman stated

    Defendant “[went] too far in allowing politics to shape her agenda.”

          61.      In sum, before assuming office, Defendant promised to investigate

    President Trump dozens of times over many months, before obtaining any

    information specific to her eventual public office that could supply an authentic

    predicate to an unbiased investigation or action against President Trump. Her

    campaign promises and transition plans to investigate President Trump’s business

    activities and associates was based on information no greater than that available to

    any other citizen and establish that the Defendant brought a premeditated policy of

    intimidation and harassment to her role as Attorney General.



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          62.    Defendant was sworn in as Attorney General of New York on January

    1, 2019. In so doing, Defendant swore to support the Constitution of the United

    States and faithfully discharge the duties of Attorney General. Unfortunately, she

    must have had her fingers crossed behind her back when she did so.

          63.    Upon assuming her role, Defendant immediately got to work making

    good on her campaign promises and established her premeditated policy of

    intimidation and harassment of President Trump as the policy of her office.

          64.    From that point forward, Defendant’s actions assumed the supposed

    color of law and occurred in her official capacity, although irredeemably tainted by

    Defendant’s policy of intimidation and harassment.

    IV.   Defendant’s Policy of Intimidation and Harassment Leads to the Special
          Proceeding
          65.    On January 3, 2019, three days after she was sworn in as Attorney

    General, Defendant told CNN that she would “ensure that the man currently

    occupying the Oval Office is held accountable to [sic] any and everything he has

    done.”

          66.    Defendant further stated that she would “never be afraid to challenge

    this illegitimate president” and that investigating Trump “fuels [her] soul.”

          67.    On March 11, 2019, Defendant employed the authority and vast array

    of resources of the Office of the Attorney General to formally open an investigation

    of the Trump Organization and issued subpoenas to Deutsche Bank and Investors


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    Bank “for records relating to the financing of four major Trump Organization

    projects.”

           68.    The subpoenas were “a culmination of months of threats from

    [Defendant] that she would aggressively investigate Mr. Trump.”

           69.    Defendant has claimed that she relied upon February 19, 2019

    testimony given by Michael Cohen (“Cohen”), a discredited, disgraced, and

    disgruntled former attorney who evaded taxes on income from his taxicab

    medallions, made false statements to financial institutions for personal gain, and lied

    to Congress, as grounds for initiating the investigation of President Trump.

           70.    Defendant’s claim of reliance on Cohen’s testimony is pretext, not

    predicate. Defendant had established her personal bias against President Trump and

    intent to initiate investigations in search of a crime years before Cohen testified

    before Congress.

           71.    Moreover, Defendant had more than six weeks in office to establish an

    official policy of intimidating and harassing President Trump before Cohen’s

    testimony.

           72.    Thereafter, Defendant openly flouted her duty to remain neutral in

    public commentary pertaining to an ongoing investigation. Defendant continued to

    disparage President Trump and the Trump Organization throughout 2019, even

    floating outright lies.



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           73.   For example, on April 23, 2019, Defendant repeated her prior,

    unfounded allegation that President Trump and the Trump Organization were

    engaged in criminal activity: “We need to focus on Donald Trump and his abuses . .

    . we need to follow his money . . . we need to find out where he’s laundered money . .

    . .”

           74.   After more than three years of formal investigation, targeted public

    attacks, and millions of dollars and thousands of hours spent, it is clear that neither

    President Trump nor any of President Trump’s companies laundered money in any way

    shape or form Defendant fabricated the allegations out of thin air, clearly indicating

    that even after assuming her office and initiating investigations her desire to pursue

    President Trump was driven by bias, political animus, and the most severe case of

    Trump Derangement Syndrome –not facts!

           75.   With this mindset firmly established, even after the Cohen testimony,

    it is clear any stated predicate for initiating an investigation was merely a pretext for

    achieving her overall goal of intimidating and harassing President Trump and the

    Trump Organization to garner underserved publicity for herself as a politician and

    harm President Trump

           76.   Defendant’s conduct continued. On July 23, 2019, Defendant tweeted

    that Trump “has spent his career hiding behind lawsuits” and promised to

    “vigorously fight” him.



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          77.    Two and a half weeks later, Defendant served a subpoena duces tecum

    on Trump, the Trump Organization’s corporate officers, his children, and third

    parties for information and testimony about a wide range of properties owned by

    Trump across the country, specifically including many in Florida.

          78.    On July 24, 2020, Defendant announced her intention to sue the Trump

    Administration for the purported unlawful practice of excluding undocumented

    immigrants in the 2020 census (a case which was ultimately thrown out by the

    Supreme Court). In her tweet, Defendant boasted “We beat the president before in

    court, and we will beat him again.”

          79.    On August 24, 2020, Defendant commenced a special proceeding under

    Article 4 of the New York Civil Practice Law and Rules, in New York Supreme

    Court, New York County, ostensibly to compel compliance with the subpoena’s

    previously issued. See People v. The Trump Organization, No. 451685/2020 (the

    “Special Proceeding”).

          80.    Under Defendant’s leadership the Office of the Attorney General has

    been reduced to nothing more than a weapon in James’ arsenal to wage war on President

    Trump. This is made abundantly clear by the fact that August 24, 2020 was also,

    conveniently, the first day of the Republican National Convention. Clearly,

    Defendant’s true goal is the ongoing intimidation and harassment of President

    Trump with the intent of causing him harm.



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          81.    Yet, despite Defendant’s biased and inflammatory statements and the

    unlawful and unconstitutional nature and scope of the Special Proceeding, President

    Trump and his companies produced over 8 million pages of documents in response

    to Defendant’s subpoenas. Still, she was not satisfied.

    V.    Defendant’s Policy of Pursuing President Trump Accelerated Post-
          Presidency.

          82.    President Trump left office on January 20, 2021, but as a private citizen

    he has remained in the public eye and remains considered by many to be the de facto

    head of the Republican Party. Since leaving office, he has publicly promoted policies

    and candidates he favors while opposing the disastrous policies of the Biden

    Administration and other Democrats, which he believes have so badly hurt our

    nation.

          83.    Defendant, emboldened by the Democrats’ apparent national victories

    in the November 2020 elections, hoped for a personal political lift by associating her

    Office’s unjust pursuit of President Trump and the Trump Organization with his

    departure from office.

          84.    Defendant declared her candidacy for Governor of New York State on

    October 29, 2021.

          85.    In her announcement video, she boasted that she “sued the Trump

    Administration 76 times, but who is counting?” In making this statement, Defendant




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    signaled that she had planned to make “taking on Trump” the centerpiece of yet

    another statewide campaign.

          86.    On December 9, 2021, amid poor polling numbers, Defendant

    suspended her campaign for Governor of New York. The reason behind the lack of

    support for her gubernatorial candidacy remains unclear, but aside from her dogged

    pursuit of Trump Defendant’s record as Attorney General has little to show. Perhaps

    the public had reservations over electing as their governor a Javert-style persecutor

    driven by personal vendettas against political opponents. Perhaps some voters were

    tired of her commitment to a political witch hunt given the statewide crime rate or

    considered unqualified or unlikable.

          87.    In any event, at her embarrassing withdrawal from the gubernatorial

    race Defendant stated, “I have come to the conclusion that I must continue my work

    as attorney general. There are a number of important investigations and cases that

    are underway, and I intend to finish the job. I am running for reelection to complete

    the work New Yorkers elected me to do.”

          88.    By saying this, Defendant left no doubt that she remained undeterred

    from her relentless pursuit of her illegitimate Trump investigation and would use it

    in her run for reelection.

          89.    Unlike the campaign promises of her first run, however, Defendant’s

    reelection strategy would need to be fueled by action. This required her to move



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    beyond the unjustified investigation that drove the Special Proceeding, and toward

    a civil action.

                               GENERAL ALLEGATIONS

    VI.    Defendant Initiates an Civil Enforcement Action Against President
           Trump Pursuant to her Policy of Intimidation and Harassment

           90.    On September 21, 2022, Defendant commenced a civil action in the

    Supreme Court of the State of New York, New York County, entitled People of the

    State of New York, et al. v. Donald J. Trump, et al, Index No. 452564/2022 (the

    “Civil Action”) by directing a subordinate, consistent with Defendant’s established

    policy of intimidation and harassment of President Trump and “anyone in his orbit”,

    to file a complaint in Defendant’s official capacity and under color of law pursuant

    to the authority granted to the Office of the Attorney General of the State of New

    York under Executive Law § 63(12) (“E.L. 63(12)”).

           91.    In the Civil Action, James identifies President Trump’s revocable trust

    as the beneficial owner of various entities that own or control assets in New York

    and beyond, including in Florida. This includes The Mar-a-Lago Club, Trump

    National Golf Club-Jupiter, the Trump National Doral Golf Club, Trump

    International Golf Club - West Palm, and numerous other projects currently being

    considered and in the pipeline in the State of Florida, further demonstrating

    Defendant’s lack of regard for limitations on her own authority and intent to control

    assets outside the State of New York.


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          92.    Immediately upon filing the complaint, Defendant, again through a

    subordinate acting pursuant to the established policy of intimidation and harassment,

    took the extraordinary step of also filing a Request for Judicial Intervention (“RJI”)

    with the Clerk before serving the complaint on President Trump (who, along with

    various related entities and other non-parties here, is a defendant in the Civil Action).

          93.    The RJI requested that the Civil Action not be assigned to a justice in

    the Commercial Division of the Supreme Court of the State of New York, New York

    County (the “Commercial Division”), which is customary and standard. Instead, the

    RJI requested the Civil Action be assigned to the same justice, Arthur F. Engoron,

    who presided over the Special Proceeding and made not a single ruling in favor of

    President Trump and referred to him as a bad guy. Suffice it to say that this justice

    has also demonstrated extreme bias against President Trump, fining him $10,000 per

    day for claimed subpoena non-compliance despite his having produced millions of

    pages of documents.

          94.    Despite the Special Proceeding and Civil Action each being part of

    Defendant’s wrongful witch hunt of a political opponent, there are significant

    differences between the two proceedings that should have resulted in the Civil

    Action being assigned to the Commercial Division.

          95.    Indeed, civil actions brought by an Attorney General pursuant to the

    authority granted by E.L. 63(12) have been uniformly assigned to the Commercial



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    Division in the past.     Moreover, the Civil Action’s $250,000,000 claim for

    restitution—though absurd on the merits—far exceeds the jurisdictional standards

    and subject-matter criteria for assignment to the Commercial Division.

          96.    Defendant’s judge-shopping maneuver using the RJI further

    demonstrates Defendant’s corrupt and bad faith pursuit of the Civil Action. There is

    no other reason to justify specifically seeking out Justice Engoron, who is assigned

    to a noncommercial part of the New York judicial system that lacks the rules and

    expertise of the Commercial Division.

          97.    With her desired justice at least temporarily presiding over the

    Enforcement Action, Defendant next directed a subordinate, consistent with her

    policy of intimidation and harassment of President Trump, to seek a preliminary

    injunction to restrain and supervise (i.e., destroy) his companies.

          98.    James seeks to extend this oversight and control to President Trump’s

    Florida revocable trust, threatening to substantially interfere with the ability of the

    trustee of the Trust to carry out its provisions and discharge his duties in accordance

    with Florida law.

          99.    Similar to how Defendant timed her initiation of the Special Proceeding

    to maximize her own political benefit and damage President Trump, Defendant’s

    request for preliminary judicial intervention is designed to create a media sensation




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    that will damage President Trump and raise her own political profile just days before

    the national midterm elections and her own bid for reelection

          100. The manner in which Defendant has prosecuted the Civil Action is true

    to form and demonstrates the continued vigor of her political and personal vendetta

    against President Trump.

          101. In context, Defendant’s efforts to obtain control over President Trump’s

    business organization, including the revocable Trust, is the culmination of her

    endless public promises to investigate President Trump without proper predicate. It

    follows her open and baseless disparagement of President Trump, her accusations

    that President Trump broke the law despite admitting she possessed no evidence to

    substantiate those allegations, her aggressive and wide-sweeping investigation into

    President Trump’s business activities that led to and included the Special

    Proceeding, and now the biased initiation and prosecution of the Civil Action.

          102. On October 31, 2022, James filed additional documents revealing her

    true intentions – a bevy of correspondence revealing her zeal to obtain a copy of

    President Trump’s Florida-based revocable trust. A copy of this correspondence is

    attached as Exhibit A.

          103. President Trump, a Florida resident with the right to revoke, amend, or

    modify the terms of his revocable trust at any time before it becomes irrevocable,

    requires protection from James’ demand to invade his privacy.



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          104. Absent judicial relief, including the permanent and temporary

    injunctive relief sought, James will continue her campaign to obtain the revocable

    trust instrument, interfere in the administration of the revocable trust, interfere with

    President Trump’s right to revoke the revocable trust, and irreparably harm President

    Trump and assets he controls in the State of Florida which employ nearly a thousand

    employees in the State.

                                         COUNT I
                   (Violation of Plaintiff President Donald J. Trump’s
                             Rights to Privacy and Property)

          105. Plaintiff re-alleges and incorporates by reference the allegations in

     paragraphs 1-105 above as if fully set forth herein.

          106. President Trump is a natural person residing in Florida with the right to

     be left alone from governmental intrusion into his private life under Article I,

     Section 23 of the Florida Constitution. He also enjoys substantial common law

     privacy protections from private actors who would tortiously invade his privacy.

          107. A right to privacy is a personal one, and intentional damage to an

     individual’s rights to privacy is personal injury and tortious.

          108. The constitutional right of privacy ensures that individuals are able to

     determine for themselves when, how, and to what extent information about them is

     communicated to others. Weaver v. Myers, 229 So.3d 1118 (Fla. 2017).




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          109. The right to privacy recognized by the Florida Constitution

     encompasses at least two different categories of interest; the first is the individual

     interest in avoiding disclosure of personal matters, while the second is the interest

     in independence in making certain kinds of important decisions. G.P. v. State,, 842

     So.2d 1059 (Fla. 4th DCA 2003).

          110. Florida’s constitutional privacy provision protects citizens from

     government's uninvited observation of or interference in those areas that fall within

     ambit of zone of privacy afforded under provision. City of North Miami v. Kurtz,

     653 So.2d 1025 (Fla. 1995), rehear’g denied, cert. denied 116 S.Ct. 701, 516 U.S.

     1043, 133 L.Ed.2d 658.

          111. President Trump’s right to privacy is a fundamental right that requires

     evaluation under a compelling state interest standard; however, before the right to

     privacy attaches and the standard is applied, a reasonable expectation of privacy

     must exist. A.H. v. State, 949 So.2d 234 (Fla. 1st DCA 2007), rev. denied 959

     So.2d 715.

          112. President Trump has a reasonable expectation of privacy regarding the

     contents of his estate planning documents and the terms of his revocable trust.

          113. President Trump’s expectation of privacy was based on his authentic,

     subjective expectations as an individual and align with societal values, particularly

     those interested in deterring a public official by gaining access to private estate



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     planning information as part of a witch hunt against a political opponent done under

     the color of law by a public official.

          114. In fact, the right to privacy guaranteed by the Florida Constitution

     protects the disclosure of financial information of private persons if there is no

     relevant or compelling reason to require disclosure because personal finances are

     among those private matters kept secret by most people. McFall v. Welsh, 301 So.3d

     320 (Fla. 5th DCA 2019).

          115. The right to privacy includes information contained in Florida trusts,

     particularly when sought for purposes of discovering assets held in trust. Inglis v.

     Casselberry, 200 So.3d 206 (Fla. 2d DCA 2016); see also Compton v. W. Volusia

     Hosp. Auth., 727 So. 2d 379, 382 (Fla. 5th DCA 1999).

          116. An individual’s private financial information and trust documents are

     entitled to protection by state constitutional right of privacy if there is no relevant

     or compelling reason to compel disclosure, which normally must be made at an

     evidentiary hearing. See id.; see also Mogul v. Mogul, 730 So.2d 1287 (Fla. 5th

     DCA1999).

          117. Defendant cannot demonstrate any state interest let alone a compelling

     one for interfering with President Trump’s right to privacy as her true interest lies

     in her personal vendetta against President Trump that she has relentlessly pursued

     both before and after gaining office.



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          118. Moreover, the State of New York itself has no interest in gaining access

     to the terms of President Trump’s revocable trust nor can James or any of her

     subordinates articulate one.

          119. Nonetheless, President Trump reasonably fears that James' hand-picked

     justice will require President Trump to disclose the terms of his revocable trust and

     fine President Trump $10,000 a day for not providing it if she asks for such relief

     in the New York Supreme Court, which she has given every indication she will do.

          120. Absent an injunction from a Florida court protecting the privacy of a

     Florida resident from unlawfully prying nonresidents, James may gain access to the

     trust instrument and further violate President Trump’s right to privacy without ever

     needing to present a justification of any kind.

          121. If James’ past conduct is any indication, James will also publicly

     disclose this information once obtained. She has vowed to shine a light in every

     corner of President Trump’s affairs.

          122. Privacy, once lost, cannot be regained. The harm is irreparable and

     palpable.

          123. Similarly, Defendant’s conduct threatens to violate President Trump’s

     property rights, which are protected by Article I, Section 2 of the Florida

     Constitution.




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            124. Under Art. I, Sec. 2 of the Florida Constitution, “All natural persons are

     equal before the law and have inalienable rights, among which are the right to enjoy

     and defend life and liberty, to pursue happiness, to be rewarded for industry, and to

     acquire, possess and protect property; except that the ownership, inheritance,

     disposition and possession of real property by aliens ineligible for citizenship may

     be regulated or prohibited by law. Fla. Const. Art I, Sec. 2; see also Shriners Hosps.

     for Crippled Children v. Zrillic, 563 So. 2d 64, 66–67 (Fla. 1990).

            125. The constitutional right to property “includes the incidents of property

     ownership: the collection of rights to use and enjoy property, including [the] right

     to transmit it to others.” Id. at 67 (emphasis in original, internal quotations

     omitted). Simply put, “the right to devise property is a property right protected by

     the Florida Constitution”). Id.

            126. Defendant has attempted to exercise extraterritorial control over

     President Trump’s property in the State of Florida as an unlawful prejudgment

     attachment or restraint in the Civil Action, relief not even available under New York

     law.

            127. Defendant has intentionally violated the rights of President Trump and

     will continue to do so unless this Court intervenes.12


    12
      The damages caused to The Trump Organization are practically incalculable but
    Plaintiff intends to bring an action at a later point against James and the State of
    New York for the tens of millions of dollars lost and the tremendous cost

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           WHEREFORE President Trump demands preliminary and permanent

     injunctive relief restraining James, her agents, servants, employees, and attorneys

     and all other persons in active concert or participation with her who receive actual

     notice of the injunction, from requesting, demanding, obtaining, possessing, or

     disclosing a copy of his revocable trust or the terms thereof, or from exercising any

     authority or oversight or restraint on his revocable trust, as well as declaratory relief

     in the form of a declaration declaring that James has no jurisdiction over the assets

     of a Florida revocable trust and no authority to supplant or control the powers of the

     trustee of such a trust, and such other and further relief as the Court deems proper,

     including costs.

                                         COUNT II
       (Violation of Plaintiff President Donald J. Trump’s Rights As Grantor and
                  Beneficiary of the Donald J. Trump Revocable Trust)

           128. President Trump re-alleges and incorporates by reference the

     allegations in paragraphs 1-105 above as if fully set forth herein.

           129. President Trump is both the settlor and a beneficiary of the Donald J.

     Trump Revocable Trust.




    associated with ridiculous and frivolous litigation. After seeing what James has
    tried to do to the Trump Organization and others, many businesses are exiting New
    York for more friendly environments. This is all while violent crime skyrockets
    and the residents lack basic safety in many places.

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           130. As such, President Trump holds the power of designating the trustee of

     the Trust under both the express terms of the Trust and under the Florida Trust

     Code.

           131. President Trump also retains the right to amend, modify, or revoke the

     Trust.

           132. Defendant’s conduct threatens to interfere with his lawfully protected

     right to the proper administration of the Trust by supplanting, controlling or

     monitoring the Trustee and attempting to exercise or restrain the exercise of powers

     delegated by President Trump to the Trustee or belonging to him alone.

           133. President Trump requires a declaration concerning the rights of his

     Trustee to control the Trust free from interference by James or puppet New York

     officials.

           134. President Trump seeks injunctive relief to prevent Defendant’s future

     attempts to unlawfully supplant the Trustee or exercise powers held by the Trustee

     in any manner, either personally or through an agent.

           WHEREFORE President Trump demands preliminary and permanent

    injunctive relief restraining James, her agents, servants, employees, and attorneys

    and all other persons in active concert or participation with her who receive actual

    notice of the injunction, from requesting, demanding, obtaining, possessing, or

    disclosing a copy of his revocable trust or the terms thereof, or from exercising any



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    authority or oversight or restraint on his revocable trust, as well as declaratory relief

    in the form of a declaration declaring that James has no jurisdiction over the assets

    of a Florida revocable trust and no authority to supplant or control the powers of the

    trustee of such a trust, and such other and further relief as the Court deems proper,

    including costs.

          Dated this 2nd day of November, 2022.

                                      WEBER, CRABB & WEIN, P.A.

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                                               35
FILED: NEW YORK COUNTY CLERK 10/31/2022 06:54 PM                                                      INDEX NO. 452564/2022
NYSCEFCase
       DOC.9:22-cv-81780-DMM
             NO. 163         Document 1-1 Entered on FLSD Docket 11/16/2022
                                                                     RECEIVED Page 46 of10/31/2022
                                                                               NYSCEF:   126


           From:             Faherty, Colleen                                               EXHIBIT
           To:               Amy Carlin; Lawrence Rosen
           Cc:
           Subject:
                             Wallace, Kevin; Finkelstein, Alex; Haren, Eric
                             People v. The trump organization
                                                                                                 A
           Date:             Wednesday, August 31, 2022 6:12:57 PM


           Hi Amy and Larry,

           We’re writing concerning the production of certain documents. After reviewing our records, it
           appears that TTO has not produced a full set of documents governing Mr. Trump’s revocable trust,
           including any formation documents, amendments to the trust, or other agreements governing the
           trust’s operation. The relevant production, regarding restructuring (from 3/11/22), doesn’t seem to
           have those documents, at least not a full set. Can TTO please produce a set of those documents by
           the end of this week? (Or, if we are mistaken, and these have been produced, we would appreciate
           your alerting us to the pertinent Bates numbers).

           Related to this issue, we have seen some indication that the trust now is a “Florida grantor trust.”
           See, e.g., TTO_02355681. We are unsure if any document governing the trust has changed that
           would reflect such a change, but if there has been such a change, please let us know.

           We appreciate your prompt attention to these matters. Hope all else is otherwise well.

           Best,
           Colleen


           Get Outlook for iOS
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NYSCEFCase
       DOC.9:22-cv-81780-DMM
             NO. 164         Document 1-1 Entered on FLSD Docket 11/16/2022
                                                                     RECEIVED Page 47 of10/31/2022
                                                                               NYSCEF:   126


           From:                 Alina Habba, Esq.
           To:                   Faherty, Colleen; Wallace, Kevin; Lawrence Rosen; Amy Carlin; Michael Madaio; Finkelstein, Alex; Randee
                                 Ingram
           Subject:              Re: Meet and Confer Request
           Date:                 Friday, September 16, 2022 10:35:56 AM
           Attachments:          image001.png


           Good morning-

           I am working with the attorneys to get you your request without disclosing estate planning
           information.

           Thank you,

           Alina Habba, Esq.
           Habba Madaio & Associates LLP


           From: Faherty, Colleen <Colleen.Faherty@ag.ny.gov>
           Sent: Friday, September 16, 2022 8:03:08 AM
           To: Alina Habba, Esq. <ahabba@habbalaw.com>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>;
           Lawrence Rosen <lrosen@lhrgb.com>; Amy Carlin <ACarlin@lhrgb.com>; Michael Madaio
           <mmadaio@habbalaw.com>; Finkelstein, Alex <Alex.Finkelstein@ag.ny.gov>; Randee Ingram
           <ringram@habbalaw.com>
           Subject: RE: Meet and Confer Request

           Dear Alina, et al.,

          Following up on the below thread regarding the trust documents. Please confirm whether you
          intend to produce the documents requested.

           Additionally, we have noticed an error with certain documents in the productions. In particular we
           have received documents that were sent password protected in their original transmission, but that
           once produced to OAG, remained password protected and inaccessible. (see, e.g. TTO_06198993). I
           can ask our IT folks to give you a better overview of the documents identified, but want to flag it for
           you in case your IT team has a quick remedy for this. Please let me know.

           Thank you.

           Best,
           Colleen

          ____________________________________________
          Colleen K. Faherty | Assistant Attorney General
          Executive Division – Federal Initiatives
          New York State Office of the Attorney General
          28 Liberty Street, 18th floor | New York, NY 10005
          Tel: 212.416.6046 | Fax: 212.416.6009
FILED: NEW YORK COUNTY CLERK 10/31/2022 06:54 PM                                                       INDEX NO. 452564/2022
NYSCEFCase
       DOC.9:22-cv-81780-DMM
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                                                                     RECEIVED Page 48 of10/31/2022
                                                                               NYSCEF:   126


           Colleen.Faherty@ag.ny.gov




           From: Faherty, Colleen
           Sent: Thursday, September 8, 2022 3:38 PM
           To: Alina Habba, Esq. <ahabba@habbalaw.com>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>;
           Lawrence Rosen <lrosen@lhrgb.com>; Amy Carlin <ACarlin@lhrgb.com>; Michael Madaio
           <mmadaio@habbalaw.com>; Finkelstein, Alex <Alex.Finkelstein@ag.ny.gov>; Randee Ingram
           <ringram@habbalaw.com>
           Subject: RE: Meet and Confer Request

           Alina,

           Thank you for providing this document; however, I’m afraid this doesn’t sufficiently address our
           request because it does not get at the trust as part of the operating business enterprise that is the
           Trump Organization. The Donald J. Trump Revocable Trust, in general, holds the entities and
           properties that comprise the Trump Organization. As a trust, its trustee or trustees are its
           responsible officials, and a trust typically is governed by the terms set by the grantor in the grant or
           otherwise later agreed to. Since the trust’s business assets have been included within the trust for
           more than five years, all documents governing the trust’s operation, the responsibilities of its
           trustees and other officials, etc., plainly are pertinent to OAG’s investigation. There is no basis to
           withhold any such documents from production.

           Below is an itemized list of the excerpted trust documents we believe we have received. I can’t say
           this is a complete list, but these documents while relevant also do not fully address our request
           because many are incomplete on their face and we have no assurance that other agreements,
           amendments, etc., do not exist:
                        · We have received an excerpted trust document, with only pages 1 and 46 included.
                            The rest of the pages are not included. TTO_02922134.
                        · We have received portions of a second amendment to the trust. TTO_03451963. It
                            does not appear we have received the full second amendment, nor have we
                            received any first amendment that preceded it.
                        · As part of a March 11, 2022 production of a closing binder for the late 2016/early
                            2017 restructuring with numbered files, we received a third amendment.
                            TTO_05698935. We do not know if there were subsequent amendments.
                        · As part of that same closing-binder production, we received a document appearing
                            to be a set of trust instructions. TTO_05698019. We do not know if this is the only
                            set of instructions, or if there are later sets of instructions or other arrangements or
                            agreements that would govern operation of the trust.

          We appreciate your working with us, but are constrained to restate our request for the documents
          establishing the Donald J. Trump Revocable Trust dated April 7, 2014, any amendments thereto, and
          any document reflecting a change in the status of that Trust to “a Florida grantor trust”. For the
          avoidance of doubt, the request includes any formation documents, amendments to the trust, or
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           other documents governing the trust’s operation. We do not understand how a production of this
           set of documents could be difficult or time-consuming. We ask for production by the end of this
           week.

           Thank you.

           Best,
           Colleen

          ____________________________________________
          Colleen K. Faherty | Assistant Attorney General
          Executive Division – Federal Initiatives
          New York State Office of the Attorney General
          28 Liberty Street, 18th floor | New York, NY 10005
          Tel: 212.416.6046 | Fax: 212.416.6009
          Colleen.Faherty@ag.ny.gov




          From: Alina Habba, Esq. <ahabba@habbalaw.com>
          Sent: Wednesday, September 7, 2022 3:44 PM
          To: Faherty, Colleen <Colleen.Faherty@ag.ny.gov>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>;
          Lawrence Rosen <lrosen@lhrgb.com>; Amy Carlin <ACarlin@lhrgb.com>; Michael Madaio
          <mmadaio@habbalaw.com>; Finkelstein, Alex <Alex.Finkelstein@ag.ny.gov>; Randee Ingram
          <ringram@habbalaw.com>
          Subject: RE: Meet and Confer Request

           Hi Colleen,

           In response to your request I am able to provide two confidential documents in addition to those
           that TTO had in their possession and previously produced to the OAG. As per my call with Kevin and
           Colleen yesterday, I believe these documents should include all information the OAG is seeking or
           would require, as is relevant to this investigation, without divulging any of the highly-sensitive estate
           planning information which we would obviously object to.

           Please let me know if I can be of any further assistance.

           Very truly yours,


           Alina Habba, Esq.
           Habba Madaio & Associates LLP
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       DOC.9:22-cv-81780-DMM
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                                                                               NYSCEF:   126



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           responsibility of the recipient to ensure that it is virus free and no responsibility is accepted by Habba Madaio &
           Associates LLP for any loss or damage arising in any way from its use.




          From: Faherty, Colleen <Colleen.Faherty@ag.ny.gov>
          Sent: Thursday, September 1, 2022 1:45 PM
          To: Alina Habba, Esq. <ahabba@habbalaw.com>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>;
          Lawrence Rosen <lrosen@lhrgb.com>; Amy Carlin <ACarlin@lhrgb.com>; Michael Madaio
          <mmadaio@habbalaw.com>; Finkelstein, Alex <Alex.Finkelstein@ag.ny.gov>; Peter Gabra
          <pgabra@habbalaw.com>; Randee Ingram <ringram@habbalaw.com>
          Subject: RE: Meet and Confer Request

          Hi Alina –

          Given the extensive litigation over productions to date, we think it is best to communicate in writing,
          so please consider this email our meet and confer.

          The request is for the documents establishing the Donald J. Trump Revocable Trust dated April 7,
          2014 and any document reflecting a change in the status of that Trust to “a Florida grantor trust” as
          shown in the attached document. For the avoidance of doubt, the request includes any formation
          documents, amendments to the trust, or other documents governing the trust’s operation. We
          expect these documents will be straightforward to obtain and produce.

          As the Trust holds all of the assets valued in the SOFC’s and its Trustees are responsible for the
          presentation of the statements from 2016 forward, these are basic, foundational documents, but we
          have not been able to identify them (or complete versions of them) in the productions to date. If
          TTO can identify the relevant bates numbers, great. If not, we would like them produced ASAP. If you
          decline, we would like to know ASAP. (But we will add that these documents are properly called for
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           by a number of subpoenas.)

           Much appreciated.

           Best,
           Colleen

          ____________________________________________
          Colleen K. Faherty | Assistant Attorney General
          Executive Division – Federal Initiatives
          New York State Office of the Attorney General
          28 Liberty Street, 18th floor | New York, NY 10005
          Tel: 212.416.6046 | Fax: 212.416.6009
          Colleen.Faherty@ag.ny.gov




          From: Alina Habba, Esq. <ahabba@habbalaw.com>
          Sent: Thursday, September 1, 2022 12:17 PM
          To: Faherty, Colleen <Colleen.Faherty@ag.ny.gov>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>;
          Lawrence Rosen <lrosen@lhrgb.com>; Amy Carlin <ACarlin@lhrgb.com>; Michael Madaio
          <mmadaio@habbalaw.com>; Finkelstein, Alex <Alex.Finkelstein@ag.ny.gov>; Peter Gabra
          <pgabra@habbalaw.com>; Randee Ingram <ringram@habbalaw.com>
          Subject: Meet and Confer Request

           [EXTERNAL]
           Good morning,

           I understand a request was made for additional documents yesterday regarding the trust. Please
           provide me with some times that work tomorrow for a meet and confer so I can assist with this and
           take a look at what has been provided historically by TTO for you.

           Thank you,

           Alina Habba, Esq.
           Habba Madaio & Associates LLP



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